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                        EXHIBIT 4




                                                                           UBS063
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From:                             Clay Taylor <clay.taylor@bondsellis.com>
Sent:                             Friday, April 16, 2021 5:36 PM
To:                               Tomkowiak, Sarah (DC); Clubok, Andrew (DC)
Cc:                               George, Katie (CH); McLaughlin, Shannon (NY); William Howell; John Bonds
Subject:                          RE: UBS / Highland


Sarah,

Without agreeing with your characterization as to my client causing unreasonable delay, the balance of the e-mail
sounds reasonable.

I have a communication outstanding to my client and will let you know if I get written authorization from him to accept
service either immediately or at any fixed or readily determinable time and date.

I look forward to working with you, Andy and team.

Clay

From: Sarah.Tomkowiak@lw.com <Sarah.Tomkowiak@lw.com>
Sent: Friday, April 16, 2021 4:31 PM
To: Clay Taylor <clay.taylor@bondsellis.com>; Andrew.Clubok@lw.com
Cc: kathryn.george@lw.com; Shannon.McLaughlin@lw.com; William Howell <william.howell@bondsellis.com>; John
Bonds <john@bondsellis.com>
Subject: RE: UBS / Highland

Clay,

We appreciate that suggestion, but your client has already caused unreasonable delay. As you know, we had wanted to
depose him two days ago.

How about you file your motion today and get the first available hearing (if you are in trial next week, then early the
week of April 26 as we discussed). We will respond to your motion by Wednesday the 21st at the latest. It’s very
possible the Court won’t need to hold a hearing on this, in any event. But we do not object to you seeking a hearing on
an expedited basis.

We would like to set Mr. Dondero’s deposition, provisionally, for April 29, with documents due by April 27. If you win
your motion, obviously that may change.

Let us know.

Best,
Sarah

From: Clay Taylor <clay.taylor@bondsellis.com>
Sent: Friday, April 16, 2021 4:58 PM
To: Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>; Clubok, Andrew (DC) <Andrew.Clubok@lw.com>
Cc: George, Katie (CH) <kathryn.george@lw.com>; McLaughlin, Shannon (NY) <Shannon.McLaughlin@lw.com>; William

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Howell <william.howell@bondsellis.com>; John Bonds <john@bondsellis.com>
Subject: RE: UBS / Highland

Sarah and Andy,

Thank you for the call today. I have not heard back from my client. But, here is what I am willing to do to move this
along.

I will agree to accept service on his behalf of the subpoenas, subject to any defenses and objections we may have as to
the content, the timing thereof as to either the production of documents or being deposed, and appropriateness of such
issuance and service of the subpoenas under all applicable rules related to the reasonableness of the breadth, scope,
and timing or otherwise. Service of the subpoenas to be effective the day after the expedited hearings on the to-be-
filed Motions for Protective Order and to Modify the Sealing Order.

Subject to court availability, we will try and get a hearing on both motions for the week after next, but not on the 30th.

Does that work? In my opinion, it cuts through a lot of potential procedural inefficiencies for all parties and the Court.

Please advise.

Clay

From: Sarah.Tomkowiak@lw.com <Sarah.Tomkowiak@lw.com>
Sent: Friday, April 16, 2021 2:50 PM
To: Clay Taylor <clay.taylor@bondsellis.com>; John Bonds <john@bondsellis.com>
Cc: Andrew.Clubok@lw.com; kathryn.george@lw.com; Shannon.McLaughlin@lw.com; William Howell
<william.howell@bondsellis.com>
Subject: RE: UBS / Highland

Clay, thanks. In that case, we could also speak over the weekend or Monday if more convenient.

Sarah

From: Clay Taylor <clay.taylor@bondsellis.com>
Sent: Friday, April 16, 2021 3:32 PM
To: Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>; John Bonds <john@bondsellis.com>
Cc: Clubok, Andrew (DC) <Andrew.Clubok@lw.com>; George, Katie (CH) <kathryn.george@lw.com>; McLaughlin,
Shannon (NY) <Shannon.McLaughlin@lw.com>; William Howell <william.howell@bondsellis.com>
Subject: RE: UBS / Highland

Sarah,

I am in trial in the NRA case right now. John is attending a funeral for a family member.

We have not had time to update the website yet with William’s info. It is in process.

Can I call you on a break? If so, office or cell?

Clay




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From: Sarah.Tomkowiak@lw.com <Sarah.Tomkowiak@lw.com>
Sent: Friday, April 16, 2021 2:28 PM
To: John Bonds <john@bondsellis.com>; Clay Taylor <clay.taylor@bondsellis.com>
Cc: Andrew.Clubok@lw.com; kathryn.george@lw.com; Shannon.McLaughlin@lw.com
Subject: UBS / Highland

John & Clay,

This afternoon multiple members of our team have received calls from an attorney from your firm (Will Howell, who
does not appear on your website), purportedly to satisfy the meet and confer requirements with UBS prior to filing
motions on behalf of Mr. Dondero in the adversary proceeding No. 21-03020 in the Highland matter.

As you know, we have been attempting to serve Mr. Dondero subpoenas in connection with this matter for two
weeks. On April 5, you informed us that you were not authorized to accept service of subpoenas related to this suit. We
were therefore somewhat surprised to receive your colleague’s calls.

We would like to discuss these issues. We are available to do so now (2:30 CT / 3:30 ET), or if that doesn’t work, let us
know when you are available this afternoon.

Best,

Sarah A. Tomkowiak

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_________________________________

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